         Case 3:10-cv-03561-WHA Document 2148 Filed 02/24/20 Page 1 of 2
                       Supreme Court of the United States
                              Office of the Clerk
                          Washington, DC 20543-0001
                                                                            Scott S. Harris
                                                                            Clerk of the Court
                                                                            (202) 479-3011
                                        February 24, 2020


 Clerk
 United States Court of Appeals for the Federal
 Circuit
 717 Madison Place, NW
 Room 401
 Washington, DC 20439


 Re:   No. 18-956 Google LLC v. Oracle America, Inc.
       (Your No. 2017-1118, 2017-1202)


Dear Clerk:


      Pursuant to Rule 12.7 of the Rules of the Supreme Court of the United States, you are
requested to certify and transmit immediately the entire record (including transcripts) in the
above case to this office. Please indicate in this transmittal all exhibits, lodgings, and briefs
that have been filed. You must also transmit a numbered list specifically identifying
each document transmitted. All cassettes, disks, tapes and any article of a similar
material must be sent via commercial carrier, not via the United States mail.

        Please be certain to include a transmittal letter referencing this Court’s docket number.
It is critical that you note if the record, or any portion of the record, has been sealed or
contains confidential information. If this type of information is contained in the record, these
documents must be enclosed in a separate envelope or box and marked accordingly.

       If your court is not in possession of the lower court record, please forward a copy of this
letter and a request for the lower court to transmit its record directly to this office.

      Hard copies of record materials available electronically do not need to be transmitted.
Instead you should provide this office with the web address where the materials are available.
         Case 3:10-cv-03561-WHA Document 2148 Filed 02/24/20 Page 2 of 2


      If you have any questions, please contact me. Your prompt attention to this matter will
be greatly appreciated.

      Kindly acknowledge receipt of this letter.

                                       Sincerely,

                                       Scott S. Harris, Clerk

                                       by

                                       Kevin Brown
                                       Assistant Clerk
                                       (202) 479-3013
cc: Counsel of Record
